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     1    IN THE CIRCUIT COURT FOR HARFORD COUNTY, MARYLAND

     2   STATE OF MARYLAND

     3

     4               V.                         CASE NUMBER K -17 -0519
     5

     6   CHARLOTTE    F.   WOLF
     7

     8                     OFFICIAL TRANSCRIPT OF PROCEEDINGS
     9                                Jury Trial    I

10                                             BEL AIR, MARYLAND
11                                             MARCH    1,   2018
12

13               BEFORE:          THE HONORABLE YOLANDA CURTIN,
14                                ASSOCIATE JUDGE
15

16               APPEARANCES:
17

18               ON BEHALF OF THE STATE:
19               SALVATORE FILI, ESQUIRE
20

21               ON BEHALF OF THE DEFENDANT:
22               STEVEN TULLY, ESQUIRE
23

24               REPORTED BY:
25               RANDY K. MACKUBIN, OFFICIAL COURT REPORTER
                                                                            2



     1                (Counsel having exercised the right to
     2                peremptory challenge,          a   jury was duly
     3                 selected and impaneled.)
     4                (Opening statements not transcribed.)
     5               THE COURT:       Mr.    Fili.
     6               MR. FILI:      Yes,    Your Honor.     I   will call
     7   Deputy Justin Blubaugh to the stand.
     8                            DEPUTY JUSTIN BLUBAUGH,
     9   a witness called to testify on behalf of the State, was
10       duly sworn and testified as follows:
11                   THE CLERK:       State your full name and
12       assignment for the record.
13                   THE WITNESS:       Detective Blubaugh,       Harford
14       County Sheriffs Office with the criminal investigations
15       division.     Assigned to the property crimes unit.
16                                DIRECT EXAMINATION
17                   BY MR.   FILI:
18           Q.      Thank you.       Could you tell us your assignment,
19       please?
20           A.      I'm assigned to the -- I'm a supervisor in the
21       criminal -- in the criminal investigations division,
22       property crimes unit.         I    handle auto theft, burglary,
23       white collar crimes and pawn unit.
24           Q.    And did you in the year 2015 engage in an
25       investigation regarding pawn shops?
                                                                           3




     1         A.    Yes,   I   did.
     2        Q.     And as part of your investigation did you
     3    investigate any transactions that were undertaken at
     4   Associated Pawn on Pulaski Highway in Edgewood?
     5        A.     Yes.

     6        Q.     And can you tell us the nature of that
     7   investigation and how that proceeded?
     8        A.     Yes.   In around June of 2015 organized retail

     9   investigator with Home Depot had contacted my office
10       and wanted to discuss
11                   MR. TULLY:        Objection, and hearsay, Your
12       Honor.
13                   THE COURT:        Not for the truth of it but for
14       the purposes of why he did what he did in terms of

15       investigation.         Members of the jury, you will be
16       hearing some evidence.          It is not offered for the truth
17       but why the officer took the action that he did.

18            Q.     You can answer.
19           A.      He contacted my office in reference to a theft
20       investigation.         He had people that were stealing from
21       the Home Depot over a period of time.

22           Q.      Which Home Depot?
23           A.      It was various Home Depot's throughout Harford

24       County.     There is one in Bel Air, Aberdeen, and
25       Edgewood.
                                                                          4




     1        Q.    And what happened there after you talked --
     2   what was this fellow's name, by the way?
     3        A.    The person suspected of stealing was Patrick
     4   Hume --

     5        Q.   No.        Who was the person from Home Depot that
     6   contacted you?
     7        A.   Bill Evans.
 8            Q.   Did you meet with him and listen to what he
     9   had to say?

10           A.    Yes.
11           Q.    And after doing that what did you do?
12           A.    I   opened up an investigation.      I   started
13       checking RAPID, which is our Regional Automated
14       Property Information System --
15           Q.    Is that a computer system?

16           A.    That's correct.
17           Q.    What is the purpose of that computer system?
18           A.    All pawn shops in the State of Maryland are
19       required to submit their reports on transactions daily
20       to that database.

21           Q.    And that is -- and who controls that database?
22           A.    Maryland State Police.
23           Q.    And are you certified to operate that database
24       and use it?

25           A.    Yes,   I    am.   I'm actually the administrator for
                                                                       5




     1    Harford County for that system.
     2        Q.   And were you in that position at the time of
     3   this investigation?

     4        A.   Yes.

     5        Q.   And what, if anything, happened when you
     6   looked at the pawn database?     First of all, what were
     7   you looking for?

     8        A.   I   was looking for items that were sold to the
     9   pawn shop or pawned by our suspects.
10           Q.    Okay.    And when you said the pawn shops are
11       required to report the transactions to the database, is
12       this on a daily basis?

13           A.    Yes.

14           Q.    And by looking at the pawn database, are you
15       able to identify specific transactions?

16           A.    Yes.

17           Q.    And what kind of information is contained in
18       these reports?
19           A.    It provides the person who conducted the

20       transaction as far as sold or pawned that item.      It
21       gives their full name, date of birth,   address,   driver's
22       license number, phone number and it goes down and gives
23       the business who -- where that transaction was

24       conducted and it has the transaction numbers and the
25       initials or name of the person who conducted that
                                                                       6



     1    transaction and then it gets down and gives you the
     2    description of the item pawned or sold to the pawn shop
     3    along with the price that was paid.
     4            Q.    And upon reviewing the database what, if
     5    anything, did you find with respect to merchandise
     6    being pawned at associated pawn?
     7            A.    I   found quite a few items that were found
     8   pawned by my suspect,        starting way back into May.
     9           Q.    What was your suspect's name?
10               A.    Patrick Humes and Brian Snyder.
11               Q.    Why did you consider him   a   suspect?
12               A.    We had -- Home Depot and Lowe's, they had
                                                                 him
13       on video stealing items from their
                                            businesses.
14               Q.    Did you review those videos?
15               A.    Yes.
16                And were you able to identify any transactions
                 Q.

17       between Patrick Humes and Associated Pawn on
                                                      Pulaski
18       Highway in Edgewood?
19               A.    Yes.

20               Q.    How many, if any, transactions were you able
21       to find in the pawn database involving
                                                Patrick Humes
22       pawning Home Depot merchandize at Associated Pawn
                                                           in
23       Edgewood to a particular pawn broker named Charlotte
24       Wolf?

25           A.        It was around 20.
                                                                             7




     1            Q.    Were you familiar with Charlotte Wolf at that
     2    time?
     3           A.     Yes.
     4           Q.    You know who she was?
     5           A.    Yes,    sir.
     6           Q.    If you look around the courtroom today,        can
     7   you tell us whether or not Charlotte Wolf is here?

     8           A.    She is seated to my right.
     9           Q.    Indicating,      for the record,   the witness is
10       gesturing to the defendant Charlotte Freida Wolf seated
11       to the left of Mr. Tully at the trial table.

12                     THE COURT:       So noted.
13               Q.    Did you make a list of these transactions?
14               A.    Yes,    I   made a list of them, breaking down each
15       of the transactions and dates and also a list of the

16       tools that were sold to the business from Home Depot.
17               Q.    And did you run copies of the transaction
18       reports from the database?
19           A.        Yes.
20           Q.        And do you have those records with you?
21           A.        Ido.
22           Q.        And have you reviewed them to make sure that
23       they accurately reflect the transactions conducted by
24       Patrick Humes with Charlotte Wolf at Associated Pawn in
25       2015?
                                                                                        8




     1        A.     Yes,    also these are my evidence property
     2    sheets for where the items were later seized.
     3        Q.     Do you also have photographs of the items

     4    there with you?
     5        A.    Yes.

     6        Q.    That part of the paperwork that you have in
     7   front of you?
     8        A.    Yes.

     9        Q.    Can you tell us what dates Patrick Humes went
10       into -- well, before we get there, at this time                    I   would
11       like to offer these first of all for review by Mr.

12       Tully.

13                  MR. TULLY:           Thank you.
14                  MR.     FILI:    Your Honor, we will offer this
15       sheaf of documents as State's Exhibit Number                  1.

16                  THE COURT:           Any objection?
17                  MR. TULLY:           None, Your Honor.
18                  THE COURT:           Number   1   is admitted.
19                  (WHEREUPON,          the Above Referred to Document Was
20                  Entered in Evidence As State's Exhibit
21                  Number     1.)

22                  MR.   FILI:      I    would like to approach the
23       witness.
24                  THE COURT:           You may.
25           Q.     Deputy Blubaugh,          I   will --   I   have given you
                                                                          9



     1   State's Exhibit Number       1.   I   would like to ask you to
     2   tell us the first day -- first transaction that
                                                         is in
     3   that exhibit?

     4        A.    It is May 20th, 2015.

     5        Q.   And what did Mr. Humes pawn that day?
     6        A.   He pawned a Milwaukee battery --
     7             THE COURT:     I   didn't hear that.
     8             THE WITNESS:       A Milwaukee battery along with a
     9   Rigid battery.
10           Q.    And how much was he paid for those items?
11           A.    For the Milwaukee paid $40 and for the Rigid
12       he was paid $25.

13           Q.    What date was that?
14           A.    That was on May 20th.
15           Q.    And I'm sorry, what was the total amount paid?
16           A.    For the Milwaukee battery,        $40 and for the
17       Rigid it was 25.
18           Q.    What was the next transaction?
19           A.    The next day, May 21st.
20           Q.    What did he pawn on that day?
21           A.    Two Rigid batteries.
22           Q.    How much was he paid for that?
23           A.    He was paid $50.
24           Q.    Total of 50?
25           A.    Correct.
                                                                            10



     1        Q.   And the next transaction?
     2        A.   Was May 23rd.           It was    for two DeWalt
     3   batteries, and DeWalt drill.               For the DeWalt batteries
     4   he was paid $80 total and the drill was $25 total.

     5   These are all new in the box.
     6        Q.   So did you recover these items at any time
     7   from the pawn shop?
     8        A.   Yes,    I   did.
     9        Q.   And were they still in their packaging when
10       you recovered them?

11            A.   Yes,    they were.
12           Q.    Had they been opened?
13           A.    No,    they were not.
14           Q.    And the next date that Mr. Humes went in
15       there?

16           A.    Would be May 26th.
17           Q.    26th?
18           A.    Yes,    2015,      correct.
19           Q.    And what did he pawn that day?
20           A.    A Rigid battery -- I'm sorry.             A Rigid
21       multi-tool with no battery for $20.
22           Q.    And the next transaction?
23           A.    Still in the same transaction,            two cordless
24       batteries for the Rigid for $50 for both.
25           Q.    $50?
                                                                            11


     1           A.      Correct.
     2           Q.      Okay.
     3           A.      And then another Rigid half inch impact wrench
     4   for $40.

     5           Q.      What kind of wrench is that?
     6           A.      It is a

 7               Q.      Is this a power tool?

 8               A.      Correct.
 9               Q.      And is that everything he pawned on the 26th?
10               A.      That's correct.
11               Q.      And when was the next time he went in there?
12               A.      May 29th, 2015.
13               Q.      What did he pawn that day?
14               A.      A Makita 18-volt Lithium battery for $20,      a
15       Makita hammer drill power tool, cordless,          18 volts.
16       Given $80 for that.         And then a Rigid half inch impact
17       tool,        given $55.
18               Q.      Is the impact stool,   is that also a power
19       tool?

20           A.          That's correct.
21           Q.         How much for that?
22           A.          $55.

23           Q.         And is that all for May 29th?
24           A.         That's correct.
25           Q.         When was the next date he went in there?
                                                                          12



     1           A.    The next day was the 30th.
     2           Q.    What did he pawn that day?
     3           A.    On May 30th he had pawned a DeWalt quarter
     4    inch drill driver.
     5           Q.   That is a power tool?
     6           A.   That's correct.
     7           Q.   And what was he paid for that?
     8           A.   49.99.
     9           Q.   And anything else?
10               A.   Yes,   a   Makita power tool, cordless multi-tool
11       for $30.

12              Q.    Out of all these items you told us about so
13       far,    they were all new in the box?
14              A.    Correct.
15              Q.    And anything else on May 30th?
16              A.    He had another transaction on the same date.
17       He -- the first one was at 10:20.         The next one was at
18       -- just before 2:00 p.m.         and on that transaction was a
19       Rigid drill, two speed Rigid drill driver.         It was part
20       of a set that came with a battery.         He was given $40
21       for that.      Also a Milwaukee lithium battery, given $20
22       for that.

23              Q.    How about that Milwaukee battery, you said
24       $20?

25              A.    Correct.
                                                                         13



     1           Q.   How big is that?
     2           A.   About this size.
     3           Q.    If you know,    what is it designed for?
     4           A.   It is to power the power tools.

 5               Q.   And is that everything that he pawned on the
     6   second time on May 30th?
 7              A.    Correct.
 8              Q.    And the next time he went in?
 9              A.    June 1st,     the next day.
10              Q.    Okay.

11              A.    He sold a DeWalt battery for $35, a Makita

12       corded hammer drill in case for $119.99.         That was
13       actually part -- the way they broke up some of the
14       items when he sold it,        if it came as a set but had two

15       separate serial numbers he would put one thing in for
16       for 119.99 and the other thing for one cent just so

17       they could capture the serial number separately.            So it
18       was actually part of a set for $120.

19              Q.    And this is how Associated Pawn is reporting
20       the transactions?

21              A.    Yes.     And also a DeWalt right angle drill for
22       $35.

23              Q.    Anything else on June 1st?
24              A.    No,    sir.

25              Q.    And when did he next go into this Associated
                                                                          14


      1    Pawn?
      2            A.    The next day, June 2nd.
      3            Q.    What time was that?
      4            A.    10:30 in the morning.
     5              And all of these transactions, even
                   Q.
                                                        though we
     6     are using a pronoun to refer to
                                           Mr. Humes, we are
     7     talking about Patrick Humes doing all
                                                 of the
     8     transactions?
     9         A.        That's correct.
 10            Q.  And who is the pawnbroker listed as
                                                       the person
 11       who conducted these transactions
                                           with Mr. Humes?
 12            A.       Charlotte.
 13            Q.  Who do you understand Charlotte Wolf
                                                        to be
 14       based upon your knowledge?
15             A.       The manager of Associated Pawn.
16             Q.       And what is her role in this case?
17            A.        She is the one that accepted this
                                                          stolen
18        property.
19            Q.   And is that the same person as the
                                                      Defendant
20        whom you have identified?
21            A.        That's correct.
22            Q.   And what did Mr. Humes pawn on June 2nd,
                                                            2015,
23        at 10:30 a.m.?

24            A.        A DeWalt oscillating tool for $35.   A two pack
25        of DeWalt Lithium 20-volt
                                    batteries for $35.       A
                                                                                       15
          f




      1       Milwaukee battery,            18-volt battery for $30.       A DeWalt
      2       3/8 right angle drill.

      3               Q.    Right angle drill?
     4             A.       That's correct,       for $35.   And   a   Milwaukee half
     5        inch high torque impact wrench for $60.
     6             Q.       Okay.
     7            Q.        Is that everything he pawned at
                                                            10:30 a.m.            on
     8        June 2nd,      2015?
     9            A.        Yes,    sir.
 10               Q.        When did he next come in Associated Pawn?
 11               A.        Actually, he came in later that day.            That was
 12       earlier in the day.
 13               Q.       Okay.     What time later in the day did
14        Mr. Humes go to Associated?

15                 The first one was at 10:30 in the
                  A.
                                                      morning and
16        the second one was almost 2 in the
                                             morning.
17               Q.        And what,       if anything,   did Patrick Humes pawn
18        with the Defendant Charlotte Wolf at that
                                                    time?
19               A.        A two pack of       18 volt batteries for $40.
20               Q.        These 18-volt batteries, what kind of
                                                                 battery
21        are they designed for?

22               A.        To supply power to each of the
                                                          different power
23        tools.
24               Q.        Anything else?
25               A.        Yes.     A Dewalt half inch hammer drill driver
                                                                              16


     1    for $35.      A DeWalt quarter inch impact driver for $23.
     2           Q.    And then -- DeWalt, correct? How much was
     3    that?
     4           A.    And then      a   quarter inch impact driver,
     5    actually the same thing.
     6           Q.    Impact driver drill?
     7           A.   That's correct.
     8           Q.   Did he get $23 for each of them?
     9           A.   That's correct.
 10              Q.   And is that everything he pawned at
 11      approximately       2    o'clock on June 2nd, 2015?
12              A.    Yes.

13              Q.    When did he next go to Associated Pawn?
14              A.    June 8th.
15              Q.    And what,      if anything,    did Patrick Humes pawn
16       with the Defendant Charlotte Wolf that day?
17              A.    A DeWalt 3/8 inch right angle drill for
                                                              $25.
18              Q.    I'm sorry.         How much?
19              A.    $35.       A Rigid 18-volt half inch impact wrench
20       for $55.

21              Q.    How much?
22              A.    $55.       A two pack of DeWalt 20-volt batteries
23       for $15.     And    a    Rigid 18-volt high capacity battery for
24       $20.

25              Q.    And then the next time he went to Associated
                                                                           17



     i    Pawn?
     2           A.     The next day,    June 9th.
     3           Q.     What did he bring in that day?
     4           A.     A DeWalt half inch impact wrench for $50.
     5           Q.     That is a power tool?
     6           A.     Correct.    A Milwaukee half inch impact gun for
     7   $60.

     8           Q.     Did you say impact gun?
     9           A.     Yes,   impact gun or wrench.
10               Q.     How much was that?
11              A.      $60.

12              Q.      Anything else?
13              A.      Yes, a Makíta 18-volt cordless multi-tool for
14       $40.        And then a DeWalt cordless impact for $40.      And
15       on this particular transaction --

16              Q.      The cordless impact,    this was a drill?
17              A.      Yes.
18              Q.     And --
19              A.     Like a drill.     It does a little bit of a
20       different function.
21              Q.     What was he paid for that?
22              A.     $40.     Under this transaction it was listed as
23       a jigsaw tool but the actual          number of the item number
24       was an impact.

25              Q.     So there was not an additional jigsaw.       The
                                                                           18



     1    DeWalt cordless impact drill is the jigsaw?
     2           A.    That's correct.
     3        Q.       Is that everything he pawned on June
                                                            9th?
     4        A.       Yes.
     5        Q.       When did he go back?
     6        A.       On June 11th.
     7        Q.       What,   if anything, did Patrick Humes pawnhat
     8   time?

              A.       A Rigid corded laminate trimmer in      a box,   $50.
 10           Q.       That is a power tool?
11            A.       Yes.
12                     THE COURT:     What was that?
13                     THE WITNESS:     A Rigid laminate trimmer,
14       corded,      in a box.

15           Q.       And anything else?
16           A.       Yes,    a Rigid 18 volt battery for $20.

17           Q.       Anything else?
18           A.       Nothing else.
19           Q.       The next day Patrick Humes went into
20       Associated to conduct transactions with Charlotte
                                                           Wolf?
21           A.   June 13th.
22           Q.       What,    if anything,   did Patrick Wolf --   I

23       apologize -- Patrick Humes pawn with Charlotte Wolf
24       that day?
25           A.       A Milwaukee 5/8 inch rotary hammer,
                                                          cordless,
                                                                            19



          for $50.

     2            Q.    Okay.       And anything else?
     3           A.     Yes,    the same tool.    He had that twice.
     4           Q.    What kind?
     5           A.    The same tool.        He had two of those items.
     6           Q.    And he got $50 each?
     7           A.    Yes.
     8           Q.    And anything else?
     9           A.    Yes,     a   Milwaukee cordless drill with two
 10      batteries and a charger and also had an impact in that
11       kit as well.          He was provided $70.
12               Q.    For that set more or less?
13               A.    Yes.
14               Q.    And he got how much?
15               A.    $70.

16               Q.    Anything else on June 30th?
17               A.    A DeWalt cordless jigsaw for $40.
18               Q.    Anything else?
19           A.        That was it for that day.
20           Q.        And the next day that Patrick Humes conducted
21       pawn transactions with Charlotte Wolf at Associated
22       Pawn?

23           A.        June 17th.       It was a Dewalt four and a half
24       inch cordless grinder for $30.            A DeWalt corded impact
25       gun for $40.          And a DeWalt brushless oscillating
                                                                        20



     1    multi-tool for $30.
     2            Q.    Is that a power tool?

     3            A.   Yes,   sir.

     4           Q.    Thank you.
     5           A.    That was it.
     6           Q.    And when, if ever, did Patrick Humes go to
     7   Associated Pawn and ask if they would conduct a pawn
     8   transaction with Charlotte Wolf?
     9           A.    On June 18th.
10               Q.    What did Patrick Humes pawn with Charlotte
11       Wolf on that date?
12               A.    A Rigid air compressor for $125.   A Rigid one
13       and a half horsepower compact router for $35.        A Husky
14       half inch impact wrench for $12.
15               Q.    Did you say Husky?
16               A.    Yes.

17               Q.    Impact wrench?
18               A.    That's correct.
19               Q.    How much again?
20           A.        $12.

21           Q.        And what else?
22           A.        A DeWalt jigsaw for $40.   And then a cordless
23       multi-tool for $40.
24           Q.        The Makita multi-tool, is that a power tool
25       also?
                                                                      21


     1        A.      That's correct.
     2        Q.      And so all of those tools are battery
     3   operated?
     4        A.      That's correct.
     5        Q.     And the batteries that are sold are designed
     6   for power tools?

     7        A.     Correct.    I   skipped a day.   I   skipped
     8   June 16th.

     9        Q.     Tell us about June 16th?
 10           A.   June 16th there was a Rigid drill with two
11       batteries,    12-volt combo.      He was given $30.
12            Q.   Okay.
13           A.    A DeWalt cordless screwdriver with two
14       batteries.
15           Q.    That is a power screwdriver?
16           A.    Yes.
17           Q.    How much did he get?
18           A.    $20.    And   a   DeWalt flashlight and two
19       batteries and charger for $25.        And then a Milwaukee
20       jigsaw for $45.
21           Q.    Jigsaw is a power tool?
22           A.    Yes.
23           Q.    How much was that?
24           A.    $45.

25           Q.    So just to re-tabulate,       because we added
                                                                                 22


      1    these items, all these items additionally
                                                      are also
     2     power tools and the batteries are designed
                                                       to power
     3     power tools?
     4         A.    That's correct.
     5         Q.    And how is it that you -- strike that.
                                                                           My
     6     question is, did Patrick Humes deal only
                                                     with Charlotte
     7     Wolf and her son or do you have any other
                                                      transactions
     8     there?
     9         A.   We have other transactions.
 10            Q.  How many transactions do you recall that
                                                            he
 11       had apart from these that Associated --
                                                  with anybody?
 12            A.   Approximately      a dozen.        Approximately   a   dozen.
 13            Q.   A dozen more?
14             A.   Correct.
15             Q.   And all that was within a span of?
16             A.   Within a span of      a   month.
17             Q.   Okay.       Did there come a time when you
18        conducted any kind of surveillance
                                             investigation to
19        find out how Patrick Humes was getting
                                                 the stuff out of
20        the Home Depot?

21            A.    When    I   was notified of the investigation,          it
22        was sort of after the fact.         So   I   had to kind of back
23        up to track a little bit.       So that is when       I   talked to
24        the individual and looked at the video
                                                 that they had
25        which showed Mr. Humes and Mr. Snyder and
                                                    his partner
                                                                                    23



     1    in the store and also the same thing at Home
                                                       Depot.
     2    Mr. Humes was actually caught stealing from the
                                                          Bel Air
     3    Home Depot in June as well.                One of our detectives had
     4    interviewed him at that time.                I   was unavailable.      And
     5   then later on            I   had Mr. Humes in reference to these
     6   items.

     7          Q.     And did you charge Mr. Humes with any crimes?
     8          A.      No,   I       did not.   After talking with the other
     9   State's Attorney at the time, we determined that the
10       way    I    learned Mr. Humes history, he did not have any
11       criminal history.               He was around 60 years old at the
12       time and sort of -- he went down the wrong path from
                                                              an
13       injury, which came out during my investigation.                       He was
14       injured at work,              and had filed through workers comp,
15       and slowly kicked out of workers comp and moved on to
16       pills when they kind of got out of control for him.
17       And here he met up with Mr. Snyder, who was his nephew
18       and already addicted to heroin.                   Basically he had said
19       hey,   I    got a cheaper way for you to get your pain taken
20       care of and that is through heroin.                     So here Mr.
21       Snyder, who is around 30 years old,                 introduced this
22       gentlemen to heroin.               And he introduced him to the
23       retail theft.            So it was determined       I   have to have Mr.
24       Snyder charged with and indicted for these crimes
25       because he was the co --
                                                                                  24



     1                 MR.    TULLY:        Because why?
     2                 THE WITNESS:          He was his co-conspirator.      He
     3   was with him all except for one that was
                                                  out-of-state.
     4   He had a theft from Home Depot.                 So we consulted and
     5   once    I   started with the State Attorney's office to
     6   determine that, you know, we looked at the amounts of
     7   the items stolen, the price given for them,                it was
 8       barely a quarter of --
     9                MR. TULLY:           I'm going to object to that, Your
10       Honor.

11                    THE COURT:           Sustained.    You are to disregard
12       that last statement.

13              A.    We looked at the value of the items that he
14       was paid compared to what              I   had observed
15                    MR. TULLY:           Objection.   Same question.
16                    MR.    FILI:     He is talking about his personal
17       observations.
18                    THE COURT:           Come up here.
19                    (WHEREUPON,          counsel approached the bench.)
20                    THE COURT:           Where is this going?
21                    MR.    FILI:     I    thought he was going to testify
22       compared to what he saw in the store, the price, his
23       personal observations at the store.
24                    THE COURT:           There is no question before him at
25       this time.         Because    I   sustained the objection.      Told
                                                                            25


     1    the jury to disregard it.             Now he is just talking.    So
     2    you have to ask him a question so that            I   can see
     3    whether or not it is something --
     4               MR. TULLY:         I'm going to object as beyond his
     5    ability.     You can't say       I   went in the store and looked
     6   at something and that has a value that was
                                                    different
     7   than this.         He doesn't have that kind of expertise and
     8   he can't evaluate the property from the
                                                 Target.
     9               MR.     FILI:     Actually,   this is not where   I

10       intended to go.         I   will steer him back.
11                   MR. TULLY:        Okay.
12                    (WHEREUPON, proceedings resumed before the
13                    Jury.)
14            Q.     We were talking about Mr. Humes and you told
15       us you reviewed the videotape showing his
                                                   unlawful
16       activities at the Home Depot.             Did there come a time
17       when you had a chance to interview Mr. Humes?
18            A.     Yes.

19            Q.     And could you tell us what his demeanor was
20       like at the interview and whether or not that
                                                       factored
21       into your decision not to charge him with a crime?
22           A.      Yes,    it did.     Mr. Humes showed up on time for
23       his interview.        Throughout the course of the interview
24       he was -- you could tell he was apologetic, he
                                                        was
25       sympathetic.        He was wanting to go down to the pawn
                                                                         26


     1    shops.       He wanted to take care of this.    He understood
     2    that he was in a lot of trouble and then he kind of
     3   went down the wrong path.
     4           Q.     Did he mention anything about apologizing to
     5   the store that he had stolen from?

     6           A.     Yes.   He wanted to apologize to the stores he
     7   stole from, to the pawn shops that he associated with.
     8   He said it was a big mess because of him along with
                                                             the
 9       way his family treated him.        They looked at him as an
10       older person and he shouldn't be getting involved in
11       this sort of thing.        And he felt like he let his family
12       down.        He also had made arrangements to,   once he left
13       my office, to go straight into a rehab facility.
14            Q.       What was his emotional state during the
15       interview?
16            A.       He was pretty broken up and upset.    He was
17       crying throughout a portion of the interview.
18            Q.       And you discussed all of this with another
19       prosecutor in our office?
20           A.        That's correct.   The prosecutor was actually
21       there and witnessed the interview and discussed it
22       afterwards and we felt that it was best served to use
23       him as a witness.
24           Q.        Mr. Humes?

25           A.        That's correct.
                                                                                27


     1         Q.       And was he made any promises?
     2        A.        No,    sir.
     3        Q.        Was he even -- what was he asked to do?
     4        A.        Nothing.      He was asked to -- the only thing he
     5    was asked to do do, if           I   call him to testify,   you may
     6    be summonsed to appear in court.

     7        Q.    Was he expected to tell the truth?
     8        A.    Yes.
     9        Q.    Was that explained to him?
 10           A.    Yes.
11            Q.    And now, the Associated Pawn business with
12       which Mr. Humes interacted as the subject of
                                                      all these
13       transactions that we reviewed here today, that is
14       located in Harford County?
15            A.    That's correct.
16           Q.     And you said all but one of the Home Depot's
17       he stole from is in Harford County?

18           A.     I    believe he stole from more.         One I'm
19       familiar with.          They stole from outside Harford County.
20           Q.     Is that transaction on this list,           if you can
21       recall?
22           A.     No,       it is not.

23           Q.     So these transactions are ones that you
24       believe based upon your investigation occurred in
25       Harford County?
                                                                                28


     1         A.        That's correct.
     2                   MR. FILI:       Nothing further for this witness at
     3    this time,       Your Honor.
     4                   THE COURT:       Cross-examination?
     5                   MR. TULLY:      Yes,   Your Honor.
     6                                 CROSS EXAMINATION
     7                   BY MR. TULLY:
     8        Q.         Now, as   I   understand the testimony just now,
     9   that based upon him being embarrassed by his
                                                      actions
10       the and wanting to apologize to the businesses and
                                                            the
11       pawn shops,        that was one of the considerations why you
12       decided not to charge him with any criminal offenses,
13       is that right?

14            A.     Along with his lack of criminal record.
15            Q.     So he had no criminal record.             How many thefts
16       did you say you are not going to charge him with,                 if
17       you can tell us?

18            A.     I    couldn't tell you the exact number.          I   could
19       tell you how many times he sold to Associated.

20           Q.      We know about that part.           I   want to know how
21       many thefts that you decided you wouldn't charge him
22       with that you could have in Harford County?
23           A.      Well, every time he stole, he sold to
24           Q.      I    didn't ask you that question.         Listen to my
25       question.
                                                                                   29


     1        A.         I'm trying to answer it.
     2               THE COURT:        Stop.      You both can't talk over
     3   each other.        Wait for the question and respond to the
     4   question.
     5        A.     Yes, ma'am.

     6        Q.     The question is, you decided not to charge him
     7   with any criminal offenses.               How many criminal offenses
     8   could you have charged him with for theft in this
     9   county?
10           A.      Approximately 30.
11           Q.      Approximately 30.            And when did you make that
12       decision, if you can tell me?
13           A.      I    don't know the exact date but it was with
14       the State's Attorney office.

15           Q.      I'm going to show you            a   document   I   just showed
16       to the State's attorney.            If   I   can approach?
17                 THE COURT:         Yes.
18                 MR.      FILI:    May we have the exhibit marked for
19       Identification?
20                 THE COURT:         Yes, please.
21                   (WHEREUPON, the Above Referred to Document Was
22                 Marked For Identification As Defendant's
23                 Exhibit Number        1.)

24                 MR.     FILI:     Your Honor, while Mr. Tully is
25       approaching, may       I   borrow   a   pen from Madam clerk.
                                                                             30


     1          Q.    I'm going to show you a document that has been
     2    provided to me.        Looks like it is a document that you
     3    created.        Can you take a look at it.
     4         A.     Okay.
     5         Q.     And can you tell me when you wrote that?
     6         A.     I   can't tell you exactly when it was.         I   know
     7   I   submitted the report on August 7th.
     8         Q.    August 7th.        Okay.    And can you read
     9               MR. FILI:      What year, Your Honor?
 10                  THE WITNESS:        2015.
 11                  MR.    FILI:   Thank you.
12             Q.    And can you read the last paragraph of the --
13       you wrote it,       correct?
14             A.    Correct.
15             Q.    Can you read the last paragraph to the jury,
16       please?
17            A.     Yes.     It says,   "Corporal Blubaugh reviewed
18       this investigation with State's Attorney's Office
                                                           Chris
19       Smith who advised Corporal Blubaugh he would indict
20       Patrick Humes, Ron Snyder of Associated Pawn."
21            Q.     What it says there, if        I   can interpret that,
22       is that the decision made at that time point by
                                                         the
23       State's Attorney which told you you were involved and
24       going to indict Patrick Humes; is that correct?
25            A.     Yes,   according to this, yes.
                                                                            31



     1           Q.    According to this.    But your testimony is that
     2   there was a decision by all of you not to indict.                When
     3   did that take place?
     4           A.   He wasn't indicted.     I   think when we indicted
     5   this case,       it wasn't indicted until 2017,       after
     6   consulting with Home Depot, which was one of the
 7       victims, when we decided to also make sure we would use

 8       him as a witness.
 9            Q.      So in other words,    what you were doing is you
10       were trading him not being indicted for him to come in
11       and testify in court before the jury;           is that correct?
12           A.       I   don't know that we were trading.        We just
13       agreed not to charge him, for him to be           a   witness.
14           Q.       You decided you wouldn't charge him because he
15       was going to be a witness, just so we are clear on

16       that?

17           A.       Yes.

18           Q.       The original decision that     I   just showed you
19       was that you would indict him?

20           A.       Yes.

21           Q.       And that was after you had put him out about
22       being embarrassed and all these things you testified,
23       even after all of that you decided that you would

24       indict him?
25           A.       Correct.
                                                                               32


     1            Q.    I'm sorry.     I   know you said approximately 30
     2    charges that you could have charged him for,
     3    approximately?
     4        A.        Yes.
     5        Q.        Now,    there came a time when you had a
     6    conversation with Mr. Humes, is that right?
     7        A.        Yes.
     8        Q.       And --
     9        A.        I    interviewed him.
 10           Q.       And what was the purpose of the interview?
 11           A.       It was a suspect interview.

12            Q.       And when you say      a suspect,    he was a suspect
13       in these various takings of the
                                         property;              is that
14       correct?
15           A.        Him along with Mr. Snyder.
16           Q.        And when you talked to him, what if anything
17       did he tell you in this interview about --
                                                    well,
18       backtrack.          That's a bad question.       How many times did
19       he go into Associated?            Did he tell you that at that
20       point?
21           A.        No.

22           Q.        But you had information about how many
23       transactions he had at Associated, isn't that right?
24           A.        Correct.
25           Q.        And you had those when?        When did you get the
                                                                            33


           information?       Let me backtrack again.   Another bad
      2    question.      There is a law,   is there not,   when a pawn
      3    shop has a transaction that they have
                                                 to immediately
      4    provide information to the Sheriffs
                                               Office; is that
     5     correct?
     6            A.    Correct.
     7            Q.And can you tell the ladies and
                                                    gentlemen of
     8     the jury what that law says?
     9            A.    At the time -- the law has since
                                                         changed.
 10       Article 1-11 of the Harford County Code
                                                  basically
 11       states that they are required to submit
                                                  those reports
 12       by the next business day.
 13                And in this case, were the reports on
                  Q.
                                                         all of
14        the transactions that you testified
                                              promptly given           to
15        you?
16               A.    Yes.
17               Q.And did you have those reports prior
                                                        to this
18        going back through all of these dates
                                                that        you just
19        testified to?
20               A.    Yes.
21               Q.And so you knew, your agency knew
                                                     about each
22        one of these transactions before you
                                               even talked        or
23        knew who Mr. Humes was; is that
                                          correct?
24               A.    Yes.
25               Q.    What did you do about it?
                                                                         34



 1         A.    We have thousands of entries that go in there
 2   on a daily basis.          We cannot look at all of these and
 3   we cannot use that as a basis for an investigation.

 4         Q.    Why not?
 5         A.    Because that is what our policy states.
 6         Q.    So your policy states that when the pawn

 7   brokers follow the law and give you information, you
 8   cannot use that as a basis of an investigation?

 9         A.    You can't specifically go and look into the

10   RAPID program in order to look down one person to just
11   target that.          There has to be other probable cause and
12   other issues or circumstances that go with it.
13         Q.    Now,      that is your rules,   right;   not the law,
14   is   it?

15         A.    Correct.
16         Q.    So you could have theoretically looked at this

17   and said,    wait a minute,        you have talked about how
18   strange this was, how rapid it was that Mr. Humes was
19   going in.        You could have seen all of that information
20   way before you even talked to Mr. Humes and knew

21   anything about this investigation had you decided to
22   look at these things?

23         A.    If    I   had cause.
24         Q.    If you had cause to?

25         A.    Correct.
                                                                                     35


     J-         Q.     And wouldn't have just looking at them created
     2     cause that this was such an unusual aspect that you
     3     testified that someone was continuing to go in?
     4         A.      Well,    I   would not know that unless -- we do
     5     reports.     The way the RAPID program works is every
     6     couple weeks we do a top pawner report.                If someone
     7    pops up on the top pawn reports it is because
                                                        they are
     8    pawning the most or have the most money pawned,
                                                          most
     9    items, et cetera.          And sometimes investigations are run
 10       off of that.         It depends.      You would have -- I'm going
 11       to explain how our               my unit works.
                                     ---                      I'm the
12        supervisor of our pawn unit, auto theft unit, burglary,
13        white collar crimes and our pawn unit.  It has myself
14        and a civilian secretary that assist with the

15        administration portions of it.             It would be impossible
16        for me to keep track of my eleven detectives
                                                       and all
17        their cases and to go through every thousand
18        transactions that go through each of the seven pawn
19        shop businesses throughout this county.

20            Q.      Why wouldn't you just pick out one, take               a
21        look at it for a month?

22            A.      Why would I?         What would   I   have cause to?       I

23        would have to have        a   reason to start an investigation,
24        just like I did with this one.            Mr. Adams from Home
25        Depot contacted my office and said that they
                                                       had a
                                                                      36


     1    problem with theft.     That is when we looked into this
     2    first.

     3          Q.   What is the purpose of putting these -- this
     4    information in your hands immediately for all of these
     5   transactions?
     6          A.   It is not in our hands.   It is in the RAPID
     7   system which is a computer program system.
     8          Q.   It goes to the sheriffs department?
     9         A.    You have to go and log in.   It doesn't go to
10       the sheriff's office.     When it is direct loaded, it is
11       downloaded to BWI server which MSP, Maryland State
12       Police, has control over.     They have documents where
13       the actual transactions are.      They will mail them to
14       us.    We keep the hard copies just in case there is any

15       discrepancies between what is on there electronically
16       and what is on the paper.

17             Q,    And then why do it?   Why do it at all?
18             A.    Because that is what is required by the State
19       law and by the County law and keeps track of the pawn

20       shops and make sure that pawn shops are doing what they

21       are supposed to be doing.

22             Q.    And in this case, these transactions, you
23       didn't have any knowledge of them whatsoever?
24             A.    Correct.
25             Q.    But you did finally talk to Mr. Humes.    When
                                                                          37



     1    was that?
     2        A.      I   don't have the date in front of me.      It   was
     3    in July.

     4        Q.      It was in July.       All right.   And where was the
     5    interview?
     6        A.     At my office.
     7        Q.     What was the purpose of the interview?
     8        A.     It was a suspect interview to find out what

     9   was going on with these thefts.

10            Q.     He was a suspect in all of these thefts?

11            A.     Correct.
12            Q.     And now --
13                   THE COURT:     2015?
14                   THE WITNESS:     That's correct.
15                   THE COURT:     Okay.
16            Q.     Now,   going through that, he told you that he
17       never told the people what he was pawning, these things
18       at Associated,      that they were stolen goods;     is that
19       correct?
20           A.      That is correct.
21           Q.      And he did tell something to Associates, did
22       he not,    about where this property came from?
23           A.      Now,   initially during my interview he said
24       that he did not tell them where they came from.           But it
25       was learned later on when we had a follow-up talk with
                                                                                   38


      1    him,     he said that after he had been going
                                                         there for
      2    sometime, Miss Wolf had asked him,             hey, where are you
      3    getting all these tools from and he said,
                                                                     I'm a
     4     wholesaler.
     5            Q.        She asked him or he volunteered?
     6            A.        She asked.
     7            Q.        And you remembered that?
     8            A.        That's correct.      Because when   I   was seeing the
     9     tools,      I   remember Miss Wolf telling me that as well.
 10               Q.       And didn't he in fact apologize? He said
                                                                              he
 11       wanted to go to apologize to the people at
                                                     Associates
 12       for what he had done?

 13               A.       Yes.       He wanted to apologize to all of the
14        pawn shops that he had gone to because he
                                                     felt badly
15        there was this big investigation going on.
16             Q.          He felt badly he mislead them,       isn't that what
17        he said?

18             A.          No.

19             Q.          Did you tell him not to go to apologize?
20            A.           Yes,   I   said that would probably not be the
21        best thing to do right now.
22            Q.           So why did you tell him that?

23            A.           Because he was a suspect in the crime.
24        didn't want him to go down and talk to
                                                 somebody.
25            Q.           So you were giving him free legal
                                                             advice for
                                                                                                39
         r

     1       his benefit?

 2                     A.   No,       sir.

 3                     Q.   Why did you tell him that?
 4                     A.   Because, as             I    said,    it was not advisable.

 5           That is all          I   did.      I       told him it wasn't a good idea.
 6           Sometimes people are mad at other people, especially if
 7           they are out money.                    So may not be the best situation.

 8           So    I    did advise him under -- as a police officer to
 9           keep the peace for him to stay away from that

10           establishment.
11                     Q.   I   see.         So did you tell him that, definitely

12           say

13                     A.   I   didn't have to explain it to him the way 11m
14       explaining it to you.                          Hey,     that is not advisable.
15                     Q.   And when is it that he told you that he
16       mislead the people at Associates as to where he got the
17       property?
18                     A.   Are you talking about when we talked to him
19       later on?
20                     Q.   This is the first time he told you.                      You said
21       it was later on?

22                     A.   I   can't answer that.                 I   don't know.
23                     Q.   Do you know approximately when?

24                     A.   I   don't.
25                     Q.   And what is it that he said?
                                                                              40


     1               A.    Just what   I   told you, that towards the end
     2    after going there for sometime, that they had
                                                         asked
     3    where he had gotten the tools from and he said
                                                          that he
     4    was like a wholesaler or something.
     5            Q.       Said he was a wholesaler?
     6            A.       Something like that.
     7            Q.      And did you memorialize that in writing
     8    anywhere?
     9           A.       No.

 10                       MR. TULLY:       One minute, Your Honor.
11                        THE COURT:       Yes.
12               Q.       Now,    you did testify that he took things to
13       other pawn shops,            is that right?
14               A.       That's correct.
15                And can you tell me how many other pawn shops
                 Q.

16       he took things to?

17               A.       Four.
18               Q.       Four other pawn shops?
19               A.       Correct.
20               Q.       And did he ever give any property to any pawn
21       shop,        including Associates, that wasn't stolen?
22              A.        No.

23              Q.        Didn't you say in your statement --
24              A.        He had one item that was not stolen.       It was
25       his.        It was a Stihl chain saw or some type of
                                                              chain
                                                                             41



     1    saw that was used.           All the other items that were brand
     2   new all were stolen.
     3           Q.   Now,       when the property is listed by the pawn
     4   shop and sent to you that you don't see, don't they put

     5   down exactly what the property is, including serial
     6   numbers?
     7           A.   Yes.

     8           Q.   And so if inadvertently one of those ended up
     9   on your desk, you would have an actual serial number

10       from what was missing or taken from the Target store,
11       is that correct?

12               A.   Yes.

13                    MR. FILI:       The Target store?
14               Q.   Whatever store.         You had a serial number?
15               A.   Correct.
16               Q.   Do you get a hard copy of that same
17       information -- when          I   say you,   I   mean the Sheriffs
18       Office -- get       a    hard copy of that same information that
19       is now text?        The stuff that comes in within 24 hours,
20       then they follow-up as a hard copy, are they required
21       to do that?

22           A.       Yes.

23           Q.       How soon are they supposed to do the hard
24       copy?

25           A.       Now it is required within every two business
                                                                                         42
         r-


     1        days.     I    don't recall the law prior to that.              But it
     2        was normally within a week.

     3             Q.        So as   I   understand it, correct me if I'm
     4        wrong,    there is actually two separate writings of each
     5        one of these things that are pawned that
                                                       go to the
     6        Sheriffs Office in some capacity?
     7            A.        Correct.      One is digital and one is hard copy.
     8            Q.        And you testified,            I   believe, with Mr. Humes,
     9    that no promises were made to him about what
                                                       would
 10       happen if he didn't get charged?
11                A.        That's correct.
12                Q.        And was there        a   promise that he wouldn't be
13        charged?
14                A.        Never said, hey,          I   promise you I'm not
15       charging you.               We decided we are not charging him at
16       this time.            That was it.
17                Q.        And he didn't have to do anything for that?
18                A.        Right.
19                Q.        Except testify?
20               A.         Correct.
21                          MR. TULLY:      I   believe I'm finished.
22                          THE COURT:     Mr.       Fili?
23                                       REDIRECT EXAMINATION
24                      BY MR. FILI:
25               Q.     Just a couple brief things, Your Honor.                  When
                                                                               43


     1    you were telling Mr. Tully what the law
                                                  required with
     2    respect to reporting, did you at some point say
                                                          that
     3    the law has changed?

     4           A.    That's correct.
     5           Q.   Okay.      What was the law at the time of May and
     6    June of 2015?       What were the requirements then?
     7                MR.   TULLY:    Your Honor, clarification.
     8    Talking each law?
     9                MR. FILI:      The reporting law.       The law that
 10       required that.
 11                   MR. TULLY:     I   thought   I   just asked him that.
 12              Q.   In part of your testimony where you were
13       telling Mr. Tully about the laws that require
                                                       pawn
14       shops to report their transactions within 24
                                                      hours,
15       correct me if I'm wrong, but         I    believe you said the law
16       changed at some point?
17           A.       That's correct.
18           Q.       Tell us what the law was in May and June of
19       2015?

20           A.       The law,    it basically stated that it requires
21       you report to the sheriff.          And the reason the law was
22       rewritten was because state law required them to
                                                          report
23       electronically by noon the next business day.              However,
24       when -- before the State law, once there was
                                                      a county
25       law for regulating pawns and then you have
                                                    to rewrite
                                                                                   44



     1    the County laws.             So because of other case files, we
     2    had to rewrite it because it did not outline
     3    specifically when the reporting periods were within
     4    that law.
     5           Q.      Was there a county law, reporting law for pawn
     6    shops in 2015?
     7           A.      There was.       I   can't recall exactly what it
     8   was.         But basically they had to report.            It did not
     9   specify report but --
10              Q.      But the customary modality of reporting was to
'J-      the RAPID database?

12              A.      That's correct.
13              Q.      And   I     think you said that that is actually a
14       database that is kept by the Maryland State Police?
15              A.      That's correct.
16              Q.      And how is it that you are allowed to have
17       access to it?
18              A.      I   was -- when       I   took over the supervisory
19       position that          I   have now,     I   was certified in the RAPID
20       program and made an administrator by the state police.
21              Q.      Okay.       And when you said you need cause to
22       look at specific transactions in a database, what
                                                           did
23       you mean?
24              A.      Well, we have seven pawn shops in the county
25       and each of them conduct so many transactions through
                                                                                   45


     1    each day.       It would be impossible to go through
                                                               each of
     2    the transactions and look.             So part of my position
     3   every couple months, we would pick a pawn shop
                                                         where we
     4   would go out and inspect that business. Just
                                                        go and
     5   pick some of the last couple transactions to
                                                      actually
     6   inspect.       So unless I'm conducting an inspection or
                                                                  if
     7   I'm a detective working say a burglary where
                                                      someone
     8   broke into the house and had property stolen and
                                                          I'm
     9   looking for a particular item, then               I   can go to the
10       RAPID program and look for that stolen property.                  If it
11       was pawned,      it will show up.        That will give me more
12       pause to go to that transaction and that person.
13            Q.    But in this case what triggered you let's say
14       to look into these transactions regarding Mr.
                                                       Humes?
15           A.     I   was contacted by the organized retail theft
16       investigator, Phil Adams, from Home Depot.
17                  MR.    FILI:     That is all    I    have.
18                  MR.    TULLY:     No additional questions based upon
19       the prosecution      's    questions.
20                  THE COURT:       Thank you.         Detective,   the
21       witnesses have been sequestered.               So you cannot discuss
22       your testimony with anyone.             Thank you.
23                  THE WITNESS:        Thank you, Your Honor.
24                  (Bench Conference.)
25                  MR. FILI:       If Your Honor wishes to continue           I
                                                                                    46


      1    can call Mr. Adams from Home Depot.
     2                THE COURT:          We have Mr. Adams next.
     3                MR.    FILI:    Yes.
     4                THE COURT:          How long will Mr. Adams be?
     5                MR. FILI:       Not long.        I   just want him to give
     6     the retail value of the property.

     7                THE COURT:          Okay.
     8                MR.    FILI:    Answer some questions about retail
     9    versus wholesale that is within the purview
                                                      of his
 10       scope.
 11                   THE COURT:          Okay.   I'm --    I   still have to
 12       decide --    I    have to look at this other matter but               I
 13       like to try to get at much as you can
                                                because you have
14        the witness tomorrow morning.

15                    MR. FILI:      I'm hoping he won't be that long.
16        He is kind of perfunctory.              I   want him to testify that
17        he reviewed these transactions,               they physically
18        inspected the merchandize, he verified that they
                                                           were
19        Home Depot, what the retail value was and
                                                    I'm going to
20        ask him about the relationship between
                                                 retail value and
21        wholesale value based upon his expertise.
22                 MR. TULLY:         I    don't think     I    will be asking a
23        lot of questions of him.

24                 THE COURT:         Okay.       Let's go.
25                 (WHEREPON,        proceedings resumed in open court.)
                                                                                          47


     1               MR.    FILI:          State would call William Adams.
     2               THE COURT:                Hold on one second.         Can you come
     3    up.

     4               (WHEREUPON,               counsel approached the bench.)
     5               THE COURT:                Did you not see him?
     6               MR. FILI:             I       have never met him before
     7    face-to-face.       Only interviewed him over the phone.                    He
     8   basically just talked about the value of the goods.
     9    Just to make sure

 10                 MR. TULLY:                 I   don't think he can testify.
11                  THE COURT:             I       don't think it was an
12       intentional thing but he literally sat here the entire
13       time and listened to the officer's testimony.
14                  MR. FILI:          All of it?
15                  THE COURT:             Yes.
16                  MR.    FILI:       I       didn't know that.         I'm sorry.   I

17       didn't know who he was.                     I   only spoke to him on the
18       phone.
19                  MR. TULLY:             I       will share,   I   don't think it was
20       intentionally but         I   agree with everything he said is
21       probably accurate but                 I    still don't think he can
22       testify.    It is totally -- that is why we had your

23       motion for sequestration.
24                  MR.    FILI:       I       looked back at one point and saw
25       him sitting there.            I       didn't know who he was.
                                                                                 48


     1                THE COURT:      Okay.     Well -- let me give the
     2    jury a --
     3                Members of the jury,         I'm going to give you a
     4    10-minute break.         Please go back to the jury room.            Do
     5    not discuss any of the testimony.

     6                (WHEREUPON, the jury left the courtroom.)
     7                MR. FILI:     Your Honor,     I   went outside to make
     8    sure,    for what it is worth,        Deputy Blubaugh doesn't
     9    talk any more about what he testified to in
                                                      the
10       courtroom and      I   was told that unfortunately Mr. Adams
11       showed up and the Deputy suggested he come and take
                                                             a
12       seat in the courtroom.  So it was just a comity of
13       errors all around.
14                   THE COURT:      Well,     does anybody else wish to be
15       heard?
16                   MR. TULLY:      No,   I   would renew my motion that
17       because of the inadvertent violation of the
18       sequestration rule, the witness is contaminated for the
19       purposes of testimony and I would object to him being
20       called.
21                   MR.   FILI:   And for the record,       I   would argue
22       that this witness is a very perfunctory
                                                 witness.                He is
23       going to testify to information -- in other
                                                     words, the
24       retail value of the merchandise which has
                                                   nothing to do
25       with input from Deputy Blubaugh. Already
                                                   reviewed this
                                                                               9   9



      i    list and this exhibit and the
                                         merchandise physically.
      2    Nothing that he would testify to would have
                                                        been
      3    learned for the first time from Deputy
                                                  Blubaugh on the
      4    witness stand.  It was inadvertent by all
                                                      accounts. I
     5     don't know if I was on the record when I
                                                     said            that
     6     unfortunately the Deputy asked the witness to sit
                                                             in
     7     the courtroom not knowing that we had a
                                                   sequestration
     8     going on.  So it was completely inadvertent and
                                                           a
     9     mistake.
 10                    MR. TULLY:    I   don't think it was intentional
 11        and   I   willput that   on the record by counsel.         But
 12       there was questioning about that.          In fact,   I    was
 13       objecting to it -- to Blubaugh's testimony
                                                     concerning
 14       the values and it was an important
                                             aspect of what he
15        was asking him with reference to that.

16                     THE COURT:    Okay.   Well, Mr. Tully,       your
17        client is asking to strike the testimony or
                                                      not strike
18        the testimony but prohibit the witness
                                                 and the
19        witness's name is?
20                     MR. FILI:    William Adams.
21                     THE COURT:   Mr. Adams.    And because he was
22        sitting in the courtroom pretty much throughout
                                                          the
23        entire time that the officer testified and
                                                     unbeknownst
24        -- it was clear to me it was
                                       unbeknownst to the             State,
25        unbeknownst to anyone, as Mr. Fili indicated, he had
                                                                        50


      1     not seen him personally and
                                        quite frankly, he did not
      2     appear to the Court to be either a
                                                witness, not that I
      3    would have known who these witnesses
                                                  are, but there
      4    were other people observing and he
                                               didn't come in with
     5     anything in his hands or anything
                                              indicating -- didn't
     6     come dressed as if he was going to
                                               come to testify. So
     7     he did not strike the Court's
                                          attention.   So he did --
     8     so he did hear the testimony
                                         of the officer and I'm
     9     looking at Rule 5-615 E which says
                                               exclusion of
 10        testimony.   The Court may exclude all or part
                                                          of the
 11       testimony of a witness who receives
                                               information in
 12       violation of this rule, which is the
                                                sequestration
 13       rule.  And it is within -- based on my
                                                  reading here --
14        the sole discretion of the judge
                                           to determine whether
15        or not such a sanction for the
                                         violation of the rule
16        would be to strike testimony, had
                                               testimony been
17        provided,   or to preclude a witness.
18                 Based on the factors the Court has been
19        presented with today, I find it is an
                                                extreme sanction
20        to exclude the witness from
                                      testifying. The reason I
21        say that is number one, it was
                                         inadvertent.  There was
22        no -- it was Mr. Fili who during the
                                               trial asked us to
23        approach because he wanted the motion to
                                                   sequester
24        because there was someone else in the
                                                courtroom     at that
25        time.   No witnesses were present.   I   granted a motion.
                                                                         51


      1    While testimony was going on one
                                             witness did come in.
      2    And it has been reported to me that
                                                this witness is
      3    going to testify about the values, the
                                                   actual values of
     4     these items that were pawned, which is
                                                   different from
     5     what the Deputy testified.   It doesn't appear to this
     6     Court that it has been disputed that the
                                                     items were     in
     7     fact stolen and pawned.    The issue is whether or not
     8    Miss Wolf knew or should have known
                                              that they were
     9    stolen.  So he is here to testify
                                            concerning value and
 10       I don't find anything
                                that the officer testify to would
 11       clue him in or that the officer had
                                              any knowledge of
 12       what the actual value was and that is
                                                what this witness
13        will be testifying to.  So because of that, while the
14        Court does find that it was a violation
                                                  of the rule,
15        the Court will not sanction by
                                         excluding his testimony.
16        I find that to be a
                              sanction that is   unnecessary in
17        this case.

18                 MR. FILI:    Thank you.
19                 MR. TULLY:    I'm going to object to the Court's
20        ruling and ask for a continuing objection
                                                     to the
21        testimony and would adjust for purposes of
                                                      argument and
22        if an appeal is necessary, that one
                                              of the elements for
23        a business person being
                                  charged with this is the
24        difference in the values of the property.   So I think
25        it is a much more important aspect
                                             in this testimony
                                                                                 52


      1    than it would be in an ordinary case.
     2              THE COURT:       Sure.     I   understand.    I   just don't
     3     find that the officer testified -- the
                                                   officer did
     4     testify to some values. But my understanding
                                                          is that
     5     this witness will testify to the actual
                                                    values because
     6     it has been argued, at least by the
                                               State, that these
     7     items were pawned for less than what their
                                                       actual value
     8     is.  Even with the additional argument that
                                                        you added,
     9     Idon't find that it would change this Court's
                                                          view.
 10       However, your objection is noted and you are
                                                        allowed to
 11       have a continuing objection to this
                                              testimony.
12                  So you don't think it would take that
                                                          long
13        with this witness?
14                 MR.   FILI:     No,   I   don't believe so, Your Honor.
15                 THE COURT:       All right:
16                  (WHEREUPON, the jury entered the courtroom.)
17                 THE COURT:       The jury is present.
18                 MR. FILI:       Thank you.       I   would call William
19        Adams.
20                               WILLIAM ADAMS,
21        a witness called to testify on
                                         behalf of the State,              was
22        duly sworn and testified as follows:
23                 THE CLERK:       State your full name and current
24        assignment for the record, please.
25                 THE WITNESS:      William Adams,        5335 Nottingham
                                                                                  53


      1    Drive, Nottingham, Maryland 21236.

      2
                                            DIRECT EXAMINATION
      3                     BY MR. FILI:
     4             Q.       Thank you.        Mr. Adams,   can you tell us what
     5     your job is?
     6             A.       I    am an organized retail crime
                                                              investigator
     7     for Home Depot.

     8            Q.And is it safe to say that means you
     9     investigate theft against Home Depot as part
                                                         of               your
 10        job?

 11               A.     I      do.
 12                And as part of your job is it your --
                  Q.
                                                         within
13        your job description to make sure
                                            you are familiar with
14        the retail value of the merchandize
                                              and the wholesale
15        value?
16                A.    Yes.
17                Q.    And how long have you been doing this
                                                              job?
18                A.    With Home Depot for six years.
19                Q.    And did you do it somewhere else before
                                                                that?
20            A.        I       did.   I   worked for J.C. Penney Corporation.
21            Q.        J.C.       Penney?
22            A.        Yes.
23            Q.        And do you have any other -- how many
                                                              years
24        with them?
25            A.        With J.C. Penney approximately 15 years
                                                                in a
                                                                          54


      1    part-time basis while          I   was law enforcement for
      2     15 years.

      3            Q.        Law enforcement for 15 years.
                                                             What agency did
      4    you work for?

     5             A.
                    Baltimore City Police Department.
     6          Q.  And did there come a time in 2015
                                                      when you
     7     contacted Deputy Justin Blubaugh of the
                                                   Harford County
     8     sheriffs department?
     9         A.           Yes.
 10            Q.           Why did do you that?
 11            A.   In reference to ongoing theft
                                                  incidents from
 12        our Bel Air, Maryland and
                                     Edgewood, Maryland stores.
 13            Q.           And --
14             A.           In Harford County.
15             Q.       And were you able to develop or
                                                        identify
16        someone that you suspected of being a
                                                thief?
17             A.       Yes.
18             Q.       And were you able to get his name?
19             A.    obtained his vehicle license plate
                        I
                                                        number
20        which did obtain his name, yes.
21            Q.        And what was that person's name?
22            A.        Patrick Humes.
23            Q.        And did you give that information to
                                                             Deputy
24        Blubaugh?
25            A.        I    did.
                                                                          55


     1        Q.    And what happened after that?
     2        A.    Based upon the identified theft incidents and
     3    video surveillance that      I   was able to develop from our
     4    in store CCTV,      we investigated,   compared CCTV to    I

     5    believe the driver's license photograph of Mr. Humes
     6    and another subject by the name of Brian Snyder,
     7    established that these two persons were committing
     8    thefts from Home Depot of power tool items.
     9        Q.   And did there come       a time   when Deputy Blubaugh
 10      asked you to examine certain items recovered from
11       Associated Pawn in Edgewood, Maryland?
12            A.   Yes.
13            Q.  And were you able to determine whether or not
14       these items were the merchandize of the Home Depot?
15           A.    I   was.
16           Q.    And was it?
17           A.    Yes.
18           Q.    How did you do that?
19           A.    We utilize the internal inventory database of
20       products in Home Depot.       So electronically I have
21       software that    I   can scan particular departments,      UPS
22       bar codes to establish that they belong to the Home

23       Depot inventory system as well as some of the
                                                       products
24       in this case were proprietary brands,         the name Rigid
25       and Huskey are proprietary brands, only sold at
                                                         Home
                                                                             56



     1    Depot and manufactured for us.
     2           Q.   Does Home Depot also sell DeWalt?
     3          A.    Yes,       sir.

     4          Q.    And Makita?
     5          A.    Yes,       sir.

     6          Q.    And    I    think you said the Rigid and the Huskey
     7   were proprietary?

 8              A.    That's correct.
 9              Q.    And the items that you were asked to examine,
10       were they new, were they used; what condition were they
11       in and how were they packaged?

12              A.    All of the items that      I   inspected were new in
13       box,    still with the manufacturers packaging.
14              Q.    And using the -- you said CCTV; does that mean
15       closed circuit TV?
16              A.    Yes,       sir.

17              Q.    In other words,      a security camera at the Home

18       Depot?
19              A.    Yes.

20              Q.    And using that film and examining the items
21       and scanning the bar codes and consulting with the
22       database,     the merchandize database at Home Depot and

23       the other resources at your disposal,           were you able to
24       determine whether or not those items were lawfully
25       purchased by Patrick Humes?
                                                                                         57



     1           A.      Yes,       I   was and no,    they were not.
     2         Q.        And    I       would like you to look at State's
     3   Exhibit and in a moment I'm going to hand it to you and
     4   ask you that, ask you to look at it.                    Before   I   do that,
     5   I   want to ask you as part of your job description and
     6   your duties        I       think you have told us that you
 7       familiarize yourself with wholesale prices as opposed
 8       to retail prices?

 9             A.        Yes.

10             Q.        And what is the percentage difference between
11       the retail price and the wholesale price?

12             A.        Across the contrast of portable power tools
13       which      I   believe most if not all of these items fell,
14       the wholesale price is approximately 68 percent on

15       average to the retail price of portable power tools.
16       The price margin is very low.

17             Q.        So for example,            in simple math,   if an item
18       sells for $100 retail,                that means the wholesale price
19       would be $68 if you wanted to buy that wholesale?
20            A.        On average,          yes.

21            Q.        And now, with the Court's permission if                I   can
22       approach the witness and ask you to look at State's
23       Exhibit Number             1    and tell us whether or not these items
24       were among the items that you examined for Deputy

25       Blubaugh and verified the way you just discussed?
                                                                                 58



     1        A.      Yes,   sir,   they are.
     2        Q.      And I'd like to take you through the list and
     3    ask you to pull out the first transaction for May
                                                             20th,
     4    2015 involving two batteries.  Can you tell us the
     5    retail value of those two batteries?
     6        A.      I'm having problem         talking about
     7   transaction number 98053?
     8        Q.      Dated May 20th, 2015.
     9        A.   Correct.
10            Q.   What is the retail value of the batteries
11       pawned that day?
12            A.   I   do not see those listed.          I    do not see those
13       listed.
14            Q.   Let me see if           can assist.
                                       I                     Okay.   My
15       understanding is that, from this exhibit we have
16       transaction number 98053 on May 20th, 2015.                 And there
17       are batteries depicted here, correct?

18           A.    Correct.
19           Q.    Can you tell us the retail value of those
20       batteries?
21           A.    No,   I   cannot.
22           Q.    Let's go to the transaction on May 21st, 2015,
23       for two Rigid items?

24           A.    Those items are both -- both of these
25       batteries are listed at retail price would be $99.
                                                                             59



     1        Q.     So it is $99 times two?

     2        A.     Correct.
     3        Q.     Or $198?
     4        A.     Correct.
     5        Q.     Let's go to May 23rd.          And look at two DeWalt
     6   batteries and one DeWalt drill,            I   believe?
     7        A.     The DeWalt batteries,         $99 each.
 8            Q.    And there were two of them?
 9            A.    Correct.
10            Q.    And the DeWalt drill?
11           A.     $119.

12           Q.     Let's go to the transaction on May 26th,             2015.
13       We have listed one Rigid multi-tool.              What is the
14       retail value of that?

15           A.     I     show a multi-tool and two 18-volt batteries
16           Q.     That's correct.
17           A.     The Rigid multi-tool,          $99.
18           Q.     And the two Rigid batteries, what would they
19       be each?

20           A.     Those are $99 as well.
21           Q.     So we have $198 for those two batteries.

22       Rigid wrench on the same date?

23                  THE COURT:      Mr. Fili,      can you approach?
24                  MR.    FILI:   Yes,   ma'am.
25                  (WHEREUPON, counsel approached the bench.)
                                                                                          60



     1                MR.    FILI:       This is taking longer than          I

     2    anticipated.
     3                THE COURT:          And Mr. Fili, my understanding is
     4   that you were calling this witness to present                   a       value,
     5   retail value.        But he is reading from something that is
     6   already in evidence.              So if it already is in evidence,
     7   what is it that you are asking him to do?                   Isn't that
     8   part of the exhibit?
     9               MR. FILI:       He is using the exhibit.           I    will go
10       on the exhibit if that is acceptable to counsel?

11                   MR. TULLY:          It is in evidence.
12                   THE COURT:          Exactly.
13                   MR. FILI:       Fine,        Judge.
14                   THE COURT:          So   I   don't know what else -- you
15       are just having him read a number in evidence.

16                   MR. FILI:       Well,        the number is there because
17       he provided that information.

18                   THE COURT:          Well, you can ask him that
19       question.
20                   MR.    FILI:    I    will.
21                   THE COURT:          But at this point it is a little
22

23                   MR.    FILI:    I    understand.      I   didn't expect it
24       to be this plodding.

25                   THE COURT:          Okay.     Thank you.
                                                                                 61



     1                      (WHEREUPON,    proceedings resumed before the
     2                      Jury.)

     3                     BY MR. FILI:
     4           Q.        Mr. Adams,     perhaps we can do this a little bit
     5   more briefly.              You have State's Exhibit Number     1   before
     6   you,    correct?
     7          A.         Correct.
     8          Q.         And you have a master list of the items and
     9   their value and what was paid by Associated in the
10       difference in value between retail and Associated paid,
11       correct?
12              A.         Yes.

13              Q.         The values of these items in that column for
14       value,       am    I   correct in saying that you provided those
15       values to Deputy Blubaugh; is that correct?
16              A.         Yes.

17              Q.         So these numbers on this page were provided by

18       you?

19              A.     Yes.

20              Q.     And you have had an opportunity to review this
21       and are here to testify that those numbers are

22       accurate, correct?

23              A.     Correct.
24                     MR.        FILI:   Your Honor,   we will rely on State's
25       Exhibit.          We can prepare a demonstrative exhibit to be
                                                                                    62



     1   used later in trial at closing.
     2                     THE COURT:        Okay.     Any questions?
     3                                            CROSS EXAMINATION
 4                         BY MR.    TULLY:
 5               Q.        Just a couple questions.           When you use       you
 6       are using retail value.                    Is that what the price was on

 7       each one of these items when they were in your store at
 8       the time?

 9               A.        Yes.

10               Q.        Okay.     So if    I    walked in that store, these
11       would be the prices that would be on the outside of the
12       package,          is that right, or on the shelf or somewhere

13       where        I   could see it?
14               A.        Yes.

15               Q.       And how do you know they are not listed for
16       sale,        they are not discounted for some reason,            it   is
17       not Memorial holiday or something like that, buy

18       everything for 25 percent off, how do you know any of
19       that?
20           A.           There could be intermittent sales that would
21       affect those prices.
22           Q.           Okay.      So you don't know exactly when they
23       were lost or when they were stolen what the exact price

24       on them was,             is that right?

25           A.           Well, we did know the dates the thefts took
                                                                      63



     1   place.

     2        Q.   You did know the dates.        Did you know the
     3   prices were on them the date the thefts that you had
     4   here?
     5        A.   No.

     6        Q.   Okay.     Now,    you got all of this property back,
 7       right?
     8       A.    Yes,    sir.

 9           Q.    So everything that was stolen you got back

10       right in the same boxes, right?
11           A.    Yes,    sir.

12           Q.    And you were able to put this stuff back on
13       the shelves,     right?
14           A.    No.     Our policy is not to be able to resell
15       anything that is recovered after being stolen.
16           Q.    What do you do with it?
17           A.    It is destroyed or otherwise.

18           Q.    So you destroyed all this property once you

19       got it back?

20           A.    Correct.        It is basically for bookkeeping

21       purposes but it is the policy of the company not to
22       offer for resale anything.
23           Q.    At any price?
24           A.    Correct.
25                 MR.    TULLY:    No further questions of this
                                                                             64



     1   witness.       Thank you.
 2                  MR.    FILI:     Nothing further, Your Honor.        Thank
 3       you.

 4                  THE COURT:       Thank you,    sir.    Ladies and
 5       gentlemen of the jury, we are going to end our
 6       proceedings for the evening.         We will pick up tomorrow
 7       morning again.       I'm going to ask you to be assembled in
 8       the jury room by 10:00 a.m.        tomorrow morning.       Before
 9       you arrive, however, you first have to go up to the

10       Jury Commissioner to collect your pay for the day.                 And
11       then come back down here and be assembled.              When you
12       came in the courtroom this morning, but tomorrow after

13       you collect your per diem from the Jury Commissioner,

14       if you will just walk down the hallway.              There is
15       double doors that are locked.            You buzz in and we will
16       buzz you back to the jury room.
17                  You can bring your lunch tomorrow if you like

18       or we will take a lunch break and you can visit the

19       establishments.      The case will be with you tomorrow for
20       purposes of deliberation.         So again,      we want to be able
21       to make any kind of arrangements in the event we go

22       later in the day.
23                  I   will remind you that even though you started
24       to hear some evidence in this case,           you are not at
25       liberty to discuss in case amongst yourselves.             You are
                                                                                 65



     1   not even at liberty to start formulating in your mind

     2   any of this evidence that you are receiving because you
     3   haven't heard all of the evidence,                you haven't heard my
     4   legal instructions which will be binding on you so you
     5   can place this evidence in context and you haven't

     6   heard the closing arguments of the parties.                  Have a
     7   good evening.
     8                (WHEREUPON, the jury left the courtroom.)
     9            THE COURT:        So we will ask you all to be here
10       tomorrow morning by 9:30.             Can you have your witnesses
11       here by 9:30 so he can be advised of his Fifth
12       Amendment.     Is that the issue?

13                MR.    FILI:     Yes,    ma'am.      We will need an
14       attorney to advise him.           I   guess   I   can call the Public
15       Defender's office.
16                THE COURT:        I    guess Mr. MacGuinn might be able
17       to assist us,    maybe.        We will see.       I   will try to track
18       somebody down to assist us in that issue.                  But if we
19       can get that done at 9:30 so we can begin the testimony

20       at 10 and continue forward.

21                MR. FILI:        Yes,    Your Honor.
22                MR. TULLY:        Thank you.
23                (Trial recessed.)
24

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 1                             CERTIFICATION
 2

 3             I,   Randy K. Mackubin, Official Court reporter
 4   for the Circuit Court for Harford County,     do hereby
 5   certify that   I   transcribed the foregoing pages in the
 6   matter of State v. Wolf in a complete and accurate
 7   manner.

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12                                      Randy K. Mackubin
13                                      Official Court Reporter
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